
PER CURIAM.
Due to Appellant's apparent abuse of the legal process by his abusive, repetitive, malicious, or frivolous pro se filings attacking his judgment(s) and sentence(s) in Seminole County Circuit Court Case Number 14-CF-0877-A, this Court issued an order directing Appellant to show cause why he should not be prohibited from future pro se filings. See State v. Spencer , 751 So.2d 47, 48 (Fla. 1999). Having carefully considered the response and finding it fails to show cause why sanctions should not be imposed, we conclude that he is abusing the judicial process and should be barred from further pro se filings.
Therefore, in order to conserve judicial resources, Appellant is prohibited from filing with this Court any further pro se filings concerning the above referenced case. The Clerk of this Court is directed not to accept any further pro se filings concerning the referenced case. Any future filings regarding the referenced case will be summarily rejected by the Clerk, unless filed by a member in good standing of The Florida Bar. See Isley v. State , 652 So.2d 409, 411 (Fla. 5th DCA 1995) ("Enough is enough."). The Clerk is further directed to forward a certified copy of this opinion to the appropriate institution for consideration of disciplinary proceedings. See § 944.279(1), Fla. Stat. (2018) ; Simpkins v. State , 909 So.2d 427, 428 (Fla. 5th DCA 2005).
*1196FURTHER PRO SE FILINGS PROHIBITED.
COHEN, LAMBERT and EDWARDS, JJ., concur.
